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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT |iLy aE |
for the cep | 9 2023 Wil
Eastern District of Virginia
oR Ee
Richmond Division

Case No. as po 4Scv 4 ly

(to be filled in by the Clerk's Office)

Virgil C. Phillies Sr,

Plaintifi(s)
(Write the full name of each plaintiff who is filing this complaint.
[f the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-jy-

Jury Trial: (check one) [] Yes [] No

Federal Reserve Bonk ot Rink wand

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed. '
Name View: | Ca Phi Nes Sc
Street Address 396) Harvest Crest Dre
City and County PBuchmond
State and Zip Code Vv RA. 23 ya
Telephone Number g 04-4350 -3IDS
E-mail Address Vira lob Mos INE? 9 pAa L, COT’

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (i/known). Attach additional pages if needed.

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Defendant No. 1

Name Fed ern? Kesecve._| Benk ef Rechmond
Job or Title (if mown) So. ve benny = hrs

Street Address “401 E, By cd “Shree +

City and County Ricnerrtond

State and Zip Code V A. a3a14

Telephone Number gor - b6141- S000

E-mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)

Street Address
City and County

State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 3
Name

Job or Title Gf known)

Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if inown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

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Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[] Federal question (] Diversity of citizenship |

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

 i&B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)

a. If the plaintiff is an individual

The plaintiff, (ame) , is a citizen of the
State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) :
and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of fname) . Or is a citizen of
(foreign nation)

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b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) 4

and has its principal place of business in (name)

(if more than one defendant is named in the complaint, attach an additional page providing the |
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

I. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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IV. ‘Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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See atfachments

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date ofsigning: / 14: Ze23

Signature of Plaintiff 4. “het. Wheipe L.,
os |

Printed Name of Plaintiff smal Oc Piles Sr,
° '

B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm
Street Address
State and Zip Code
Telephone Number
E-mail Address

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Statement of Claim

a.

On March 26, 2018, | was hired as a Police Officer with the Federal Reserve
Bank of Richmond. Shortly after | was hired, | became aware that | was paid less
than a wim Police Officer that was hired 3 months after | was hired but did not
have the experience or qualifications that | possessed. | complained about this
throughout my employment. The most recent time | complained about the pay
disparity was in September of 2021.

| also complained that white officers were being promoted over me when | had
more qualifications and experience.

in August of 2021, | heard two white officers making derogatory remarks about
people that identified as LQBTQ. | also heard the same officers saying that they
hoped the newly hired Black Female Officer can cook because they needed a
new mama. On August 6, 2021, | complained to management about the racial
tensions in the department. Nothing was done about my compliant.

When my father passed away, management did nothing to show support for me.
However, when a white female officer (Briana) father passed away, management
requested donations for flowers for the white female officer. On Tuesday, July 6,
2021 at 12:27 PM, Michele Barker sent out an email advising she ordered a
flower arrangement from Coleman Brothers Florist to be delivered to the funeral
home for Bri’s Father's (Mr. Carr) funeral for tomorrow. Michele stated, Lenny
paid for the arrangement so we could get it there in time. If you would like to
contribute towards the cost of the flowers ($119), please see me. I'll be in the
office tomorrow and Thursday this week, but can collect donations next week as
well. Also please forward this email to any of your team members who might like
to be included.

The situation of Officer Jeffrey Ozmon w/m posting three black male officers
dressed up like females on Instagram using their full name in which Officer
Ozmon used the Federal Reserve Bank's PC and imaging to develop the photo.
It took months before Officer Ozmon admitted to the true, however he continued
to lied about the situation and he advised Tom Shumate (CPT) he wasn’t going
to tell who else was behind the photo. A video camera review should have been
conducted as soon as possible, but | have a strong indication that it wasn’t
because it took months before Officer Ozmon admitted he did it. Officer Ozmond
didn’t receive any discipline.

The Lee Hecht Harrison conducted a survey/report at the Federal Reserve Bank
of Richmond and Terry Wright (Director of Law Enforcement Unit) talked about in
November 2019 showed 90% of Disruptive Leadership and 80% Low Moral in
Richmond. Terry Wright went on to talk about other items noted by staff such as
Favoritism, Bullying, Retaliation, and Threatening Jobs. The things Terry Wright
talked about is still occurring within LEU in Richmond against me and other

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minority officers as well. Switching post run is just another tactic of how
supervisors bully officers and retaliate against officers, which | strongly feel that
is what SSGT Bowles (my supervisor) did to me by switching my schedule to
benefit another white officer. Nick Boag (Human Resource employee) was in the
meeting and witnessed when Terry Wright talked about the LHH Report.

1. My safety at the workplace of the Federal Reserve Bank in Richmond
a. Threaten by a Supervisor (SSGT Donald Patterson) to “kick my ass”.
b. Witnesses — Officer Linsey Boswell and Antonio Perkins
2. Denied Promotion — (Age, Sex, Race) - Captain, Lieutenant, and SSGT twice
a. SSGT Briana Homan — given opportunity to pad resume, favoritism, served
10 days in Chesterfield Jail — It's Public Record

b. SSGT Brian Keating — given opportunity to pad resume

c. Michael Bermudez resume doesn’t have the experience and level of
education as my resume. Suspected padded resume

3. Targeted by Lt. Carter — Threatening my job. Yelling at me in briefing when |
asked a question and he pushed away from the table in an aggressive manner
with a gun on his side and his face turning a shade of red. | felt he was trying to
intimidate me and | haven't asked any questions in briefing since that incident.

4. Harassment and Bullying — I’ve advised Tom Shumate and Jessica Coleman that
| had been threaten by SSGT Donald Patterson and nobody has ensured my
safety. Jessica Coleman asked a defensive question; how do | know they
haven't talked to SSGT Patterson already? | felt like Jessica Coleman was
bullying me and not concerned about my safety in the workplace. | was
expecting Tom and Jessica to tell me that threats will not be tolerated here at the
bank and they have handled the threat. | still have not heard anything from them
about my safety at the bank as of this writing. | worry about my safety every day
and feel as though Tom Shumate and Jessica Coleman is not taking my safety
serious as an employee at the Federal Reserve Bank in Richmond. | have
anxiety every time I report to work due to being threatened by SSGT Patterson
and | have not seen any actions to ensure me that !’m not in danger when I
report to work. I’m currently in counseling at the VA Hospital with everything
that’s going on in the LEU and how I’m being treated.

5. Hostile Environment/Interrogation — The discipline from supervisor's is not fair
when it comes to certain officers. The favoritism for certain officers is so openly
noticed and if certain officers speak up about it, they will be targeted and labeled
as a trouble maker with a bad attitude and not a team player.

6. Military Veterans who speak up for the “Better Good” and what’s ethically right
are targeted.

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On August 20, 2021, the Federal Reserve Bank of Richmond conducted an
investigation involving myself and a white Lieutenant (Carter) The Lieutenant called to
the post that | was working and asked if Officer Perkins, b/m was in the office, the officer
in question was walking out the door. | told the Lieutenant no and he asked if | had
seen the officer in question and | said no. | was aware at the time of the call that the
white lieutenant was harassing and bullying this black officer. | felt at the moment as if |
was protecting this this co-worker because of numerous previous racist and hateful
encounters between this white lieutenant and the fellow black officer. There were
reports made regarding this officer’s behavior and racial insensitive actions, but no
disciplinary actions have been taken against the white lieutenant. I’ve written several
memos and sent it to the Federal Reserve Bank of Richmond (HR, EEO) detailing
multiple incidents of racism within the building as well as other unethical behaviors and
goings on (as Law Enforcement Officers are required yearly to sign a contract promising
to report unethical behavior or abuse of policies). Again, no action was taken to even
investigate the claims.

The LHA Report that Terry Wright talked about in November 2019 showed 90% of
Disruptive Leadership and 80% Low Moral in Richmond. Terry Wright went on to talk
about other items noted by staff such as Favoritism, Bullying, Retaliation, and
Threatening Jobs. The things Terry Wright talked about is still occurring within LEU in
Richmond against me and other certain officers as well. Switching post run is just
another tactic of how supervisors bully officers and retaliate against officers, which |
strongly feel that is what SSGT Bowles did to me. Nick Boag (HR) was in the meeting
and witnessed when Terry Wright talked about the LHA report.

IV. Relief

Complaint in Virgil C. Phillips Sr. v. Federal Reserve Bank of Richmond charges
violation of Title VU of the Civil Rights Act of 1964 and seeking at least $1 million.

| began working for the Federal Reserve Bank of Richmond in 2018, applied for the
Sergeant position after a previous Sergeant was promoted to Lieutenant and the
Sergeant position was vacant. The position was given to another applicant (w/f) who
was another officer working various law enforcement post at the Federal Reserve Bank
of Richmond, but had no real law enforcement experiences.

Discrimination

| have 30 years of Law Enforcement experience with Henrico County Police as a retired
Lieutenant and 30 years of experience in the United States Army Reserve as a retired
Colonel.

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